                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR12-4077-MWB
 vs.                                               ORDER CONCERNING
                                                MAGISTRATE’S REPORT AND
 JEREMY SNYDER,                                RECOMMENDATION REGARDING
                                                DEFENDANT’S RULE 11(c)(1)(C)
               Defendant.                             GUILTY PLEA


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                      I. INTRODUCTION AND BACKGROUND
       On May 8, 2013, an Information was filed against defendant Jeremy Snyder,
charging defendant with misprision of a felony, in violation of 18 U.S.C. § 4. On May
14, 2013, defendant appeared before United States Magistrate Judge Leonard T. Strand
and entered a plea of guilty to Count 1 of the Information, under a binding plea agreement,
pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C). In the plea agreement, the
parties have stipulated to a sentence of a term of probation. On this same date, Judge
Strand filed a Report and Recommendation in which he recommends that defendant’s guilty
plea be accepted. No objections to Judge Strand’s Report and Recommendation were filed.
The court, therefore, undertakes the necessary review of Judge Strand’s recommendation
to accept defendant’s plea in this case.


                                     II. ANALYSIS
       The court reviews the magistrate judge’s report and recommendation pursuant to




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the statutory standards found in 28 U.S.C. § 636(b)(1):
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of

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review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation. Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Strand’s Report and Recommendation, and accepts defendant’s plea
of guilty in this case to Count 1 of the Information. However, the court will not decide
at this time whether it will accept the parties’ Rule 11(c)(1)(C) plea agreement and the
agreed upon sentence in that plea agreement.            Instead, the court will make that
determination at the end of the sentencing hearing in this case. In the event the court
decides not to accept the terms of the parties’ plea agreement, defendant will be given the
opportunity to withdraw his plea of guilty, or not withdraw his guilty plea and proceed
with the sentencing. See FED. R. CRIM. P. 11(c)(5).
       IT IS SO ORDERED.
       DATED this 14th day of May, 2013.


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                                                   MARK W. BENNETT
                                                   U. S. DISTRICT COURT JUDGE
                                                   NORTHERN DISTRICT OF IOWA



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